
983 So.2d 629 (2008)
Judy A. SCHWARTZKOPF, Petitioner,
v.
SEA RAY BOATS, INC. and Specialty Risk Services, Inc., Respondents.
No. 1D08-0527.
District Court of Appeal of Florida, First District.
May 8, 2008.
Rehearing Denied June 18, 2008.
Donald Van Dingenen and Charles W. Smith of Van Dingenen, P.A., Winter Park, for Petitioner.
Michael F. Wilkes of Wilkes &amp; Hedrick, P.A., Melbourne, for Respondents.
Walter J. Havers of Office of the Judges of Compensation Claims, for Judge of Compensation Claims Paul T. Terlizzese.
PER CURIAM.
The petition for writ of prohibition is denied on the merits.
LEWIS and HAWKES, JJ., CONCUR; BROWNING, C.J., DISSENTS WITH WRITTEN OPINION.
BROWNING, C.J., dissenting.
I would grant the writ of prohibition. It seems to me that the motion to disqualify the Judge of Compensation Claims (JCC) is facially sufficient. The adversarial relationship that has developed between claimant's attorney and the JCC, while unfortunate, gives the claimant ample reason to fear not receiving an impartial ruling from the JCC. The majority opinion "saddles" the claimant with the antithesis of what a litigant should receive: a fair hearing free from substantial doubt concerning a JCC's motivation when deciding an issue. The claimant deserves better here, and I, accordingly, dissent.
